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                               UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

   In re                                                  )
                                                          )
   THREE J’S DISTRIBUTING, INC.                           )          CASE NO. 18-32288-pcm7
                                                          )
                                             Debtor       )
                                                          )
                                                          )
                                                          )
   RODOLFO A. CAMACHO, Trustee,                           )
                                                          )          AD. PROC. NO.
                                           Plaintiff,     )
                                                          )          COMPLAINT TO (1) AVOID
                v.                                        )          FRAUDULENT TRANSFER; (2)
                                                          )          AVOID PREFERENTIAL TRANSFER;
   CHRISTOPHER CHURCH and SHERYL                          )          AND (3) SUBORDINATE CLAIM OF
   CHURCH                                                 )          CREDITOR
                                                          )
                                      Defendants.         )
                                                          )
                                                          )

           Plaintiff alleges as follows:

                                      COMMON ALLEGATIONS

           1.        This adversary proceeding is brought pursuant to (a) 11 U.S.C. § 548(a)(1)(B) to

avoid a fraudulent transfer (lien perfection) made within one year prior to the petition date; (b) 11

U.S.C. § 547 to avoid a preference (lien perfection) made within one year prior to the petition date;

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and (c) 11 U.S.C. § 510(b) for mandatory subordination of the claim of Christopher and Sheryl

Church which is for damages arising from the purchase or sale of a security of the Debtor.

         2.        This is a core proceeding and the Court has jurisdiction over this action under

28 U.S.C. §§ 1334, 157(b)(1), and 157(b)(2)(F), (G) and (O).

         3.        On June 29, 2018 (the “Petition Date”), three petitioning creditors filed an

involuntary petition for relief against the Debtor under Section 303 of the Bankruptcy Code (the

“Code”). On August 15, 2018, the Debtor and the petitioning creditors entered into a Stipulated

Consent to Order for Relief. On August 16, 2018, the Bankruptcy Court entered an order for relief.

         4.        Rodolfo A. Camacho was appointed trustee of the Debtor’s estate.

         5.        Prior to the Petition Date, Defendants Christopher Church and Sheryl Church

(together, “Churches”) owned 200 shares of stock in the Debtor. On January 1, 2006, Churches,

the Debtor, Constantin F. Ionescu, James R. Carty, and Jon R. Jones entered into a Stock Purchase

and Sale Agreement (the “Stock Sale Agreement”). A copy of the Stock Sale Agreement is

attached hereto as Exhibit A.

         6.        The Stock Sale Agreement provided for the redemption of 26 shares of stock by the

Debtor and the purchase of the balance of the shares of stock (174 shares) by Constantin F. Ionescu,

James R. Carty, and Jon R. Jones (each a “Buyer”, and together, “Buyers”).

         7.        The Company redeemed the 26 shares from the Churches by transferring a Picasso

painting and a Cadillac Escalade to the Churches, and forgiving a $278,000 loan owing by the

Churches to the Debtor on closing.

         8.        As stated, the Stock Sale Agreement also contemplated a sale of 174 shares by the

Churches to the Buyers. The Stock Sale Agreement provided that the purchase price for each

Buyer to purchase 57 shares owned by the Churches was $800,000 (i.e. $800,000 owed by Ionesco

for the purchase of 57 shares by Ionesco, another $800,000 owed by Carty for the purchase of 57

shares by Carty, and another $800,000 owed by Jones for the purchase of 57 shares by Jones).

On closing, each Buyer executed a separate and distinct Promissory Note in favor of the Churches,
PAGE 2     COMPLAINT TO (1) AVOID FRAUDULENT TRANSFER; (2) AVOID
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each in the amount of $800,000 (together, the “Buyer Notes”). Copies of the respective Buyer

Notes are attached hereto as Exhibits B, C and D. Under the Stock Sale Agreement, the Churches

retained three (3) shares of stock in the Debtor (the “Retained Shares”). The Stock Sale Agreement

provides that the Churches shall deliver the Retained Shares to Ionescu, Carty and Jones (one (1)

share each), once the Buyer Notes are paid in full and Ionescu, Carty and Jones each pay an

additional $1,000 to the Churches.

         9.        Notably, the Debtor is not an obligor under the Buyer Notes. The obligors under

the Buyers Notes are Ionescu, Carty and Jones, respectively. Yet the Debtor executed and

delivered to the Churches in connection with closing of the Stock Sale Agreement a Security

Agreement under which the Debtor granted a lien and security interest to the Churches in

substantially all of its assets to the Churches to secure the obligations of Ionescu, Carty and Jones

to the Churches under the Buyer Notes. A copy of the Security Agreement is attached hereto as

Exhibit E. The Stock Sale Agreement states that the Security Agreement was given by the Debtor

“in consideration for the noncompetition and other provisions of the employment agreement

between the Company and Sellers of approximately even date herewith, and for other good and

valuable consideration.” (Exhibit E, Stock Sale Agreement, Section 7.)

         10.       A copy of the Employment Agreement executed by the Debtor and Christopher

Church and by the Debtor and Sheryl Church (together the “Employment Agreements”) are

attached hereto as Exhibit F and Exhibit G. Under his Employment Agreement, Christopher

Church agreed not to compete with the Debtor and the Company agreed to pay Christopher Church

the sum of $1,000 per month. The term of the Charles Church Employment Agreement is ten

years commencing on January 1, 2005, and expiring on December 31, 2015. Sheryl Church agreed

under her Employment Agreement not to compete with the Debtor. The term of the Sheryl Church

Employment Agreement expired on December 31, 2011.

         11.       The Churches filed a UCC-1 financing statement on January 11, 2006, File No.

7150193 (the “Original Financing Statement”) to perfect the grant of a security interest by the
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Debtor to the Churches under the Security Agreement. The Original Financing Statement was

continued by the filing of a continuation statement on January 7, 2011 (“2011 Continuation

Statement”). Copies of the Original Financing Statement and a print out from the Oregon Secretary

of State’s office from March 1, 2011, evidencing the Continuation Statement are attached hereto

as Exhibit H and Exhibit I. The Original Financing Statement was not continued beyond 2016

and therefore lapsed on January 11, 2016.

         12.       In connection with the Stock Sale Agreement, the Churches and the Buyers also

executed a Voting and Shareholders Agreement (“Voting Agreement”). A copy of the Voting

Agreement is attached hereto as Exhibit J. Under the Voting Agreement, the Churches maintained

control over the Debtor. The recitals to the Voting Agreement state that the parties desire “to

provide for the manner in which they will vote their shares in connection with the election of

directors of the Company until the purchase price for the Shares is paid in full.”

         13.       The Voting Agreement gives the Churches “[i]n every election of the members of

the Board” voting power to elect four directors and gives Ionescu, Carty and Jones the power to

collectively elect three directors. The Voting Agreement also gives the Churches proxy to vote

the shares of Ionescu, Carty and Jones (Exhibit J at Section 4). The Voting Agreement also gives

the Churches an absolute right to block any amendment or modification of the agreement (Id. at

Section 12) and states that the agreement “terminates upon the payment in full by Shareholders

No. 2, No. 3, and No. 4 (Ionescu, Carty and Jones) or their obligations to Shareholder No. 1

(Churches) to purchase the Shares of the Company and to satisfy their obligations under the

Promissory Notes and other documents given by Shareholders No. 2, No. 3, and No. 4 to

Shareholder No. 1 in conjunction with the sale of Shares by Shareholder No. 1 to Shareholders

No. 2, No. 3, and No. 4.” (Id. at Section 11).

         14.       On January 30, 2018, more than two years after the lapse of the Original Financing

Statement and within one year prior to the Petition Date, the Churches filed a UCC-1 financing


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statement with the Oregon Secretary of State (Lien No. 91447371) (the “2018 Financing

Statement”). A copy of the 2018 Financing Statement is attached hereto as Exhibit K.

         15.       The Churches were a statutory “insider” at the time of the filing of the 2018

Financing Statement as they were a person in control of the Debtor pursuant to the Voting

Agreement 11 U.S.C. § 101(31). The Churches were also a non-statutory insider for the separate

and independent reason of the nexus between their right to file a UCC-1 as a secured creditor

which arose out of the Churches prior ownership of all of the shares of the Debtor, and the

Churches then existing rights and remedies against Ionescu, Carty and Jones under the Buyer Notes

and related agreements.

                                              COUNT ONE
                              (Avoid and Recover Fraudulent Transfer
                              Under 11 U.S.C. § § 548(a)(1)(B) and 550)
         16.       The Trustee restates and incorporates the allegations of paragraphs 1 through 15

above.

         17.       The filling of the 2018 Financing Statement constituted a transfer under 11 U.S.C.

§ 101(54) and 11 U.S.C. § 548(a)(1).

         18.       The Churches did not give reasonably equivalent value to the Debtor in exchange

for the filing of the 2018 Financing Statement. The Debtor is not an obligor under the Buyer

Notes. The terms of the Employment Agreements had expired at the time of the filing of the 2018

Financing Statement. There was no “antecedent debt of the Debtor” to the Churches in existence

at the time of the filing of 2018 Financing Statement within the meaning of Section 548(d)(2)(A).

The Debtor received nothing in exchange for the transfer effected by the filing of the 2018

Financing Statement. To the extent there was antecedent debt of the Debtor to the Churches in

existence as of January 30, 2018, such antecedent debt was not of reasonably equivalent value to

the value of the transfer made to the Churches in January 2018 by virtue of the filing of the 2018

Financing Statement.

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               PREFERENTIAL TRANSFER; AND (3) SUBORDINATE CLAIM OF
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         19.       The Debtor was insolvent at the time of the filing of the 2018 Financing Statement.

         20.       The transfer effected by the filing of the 2018 Financing Statement was made to or

for the benefit of an insider and therefore the elements of Section 548(a)(1)(B)(IV) have been met.

         21.       The Trustee is entitled to a judgment avoiding the lien created by the 2018

Financing Statement under 11 U.S.C. § 548(a)(1)(B), and recovering such lien for the benefit of

the estate under 11 U.S.C. § 550.

                                              COUNT TWO
                              (Avoid and Recover Preferential Transfer
                                  Under 11 U.S.C. § § 547 and 550)
         22.       The Trustee restates and incorporates the allegations of paragraphs 1 through 21

above.

         23.       To the extent that there was antecedent debt owing by the Debtor to the Churches

at the time of the filing of the 2018 Financing Statement, the Trustee may avoid the lien created

by the 2018 Financing Statement under Section 547 of the Code as such transfer (a) was made to

or for the benefit of a creditor; (b) on account of antecedent debt; (c) made while the Debtor was

insolvent; (d) made to or for the benefit of an insider within one year before the date of the filing

of the petition (e) that enabled the Churches to receive more than the Churches would receive if

the case were a case under chapter 7 of the Code and such transfer had not been made and the

Churches received payment to the extent provide by the Code.

         24.        The Trustee is entitled to a judgment avoiding the lien created by the 2018

Financing Statement under 11 U.S.C. § 547 and recovering such lien for the benefit of the estate

under 11 U.S.C. § 550.

                                             COUNT THREE
                        (Mandatory Subordination Under 11 U.S.C. § 510(b))
         25.       The Trustee restates and incorporates the allegations of paragraphs 1 through 24

above.


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               PREFERENTIAL TRANSFER; AND (3) SUBORDINATE CLAIM OF
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         26.       The claim of the Churches against the Debtor is for damages arising from the

purchase or sale of a security of the Debtor within the meaning of Section 510(b) of the Code.

         27.       As such, the claim of the Churches against the Debtor must be subordinated to all

creditors and be given the same priority as common stock of the Debtor.

         28.       To the extent required, the Court should order that any lien securing the Churches

claim be transferred to the estate pursuant to Section 510(c)(2) of the Code.

         WHEREFORE, Plaintiff requests that this Court enter a judgment:

         A.        On Count One, avoiding the lien created by the 2018 Financing Statement and

recovering the lien created thereunder for the benefit of the estate.

         B.        On Count Two, avoiding the lien created by the 2018 Financing Statement and

recovering the lien created thereunder for the benefit of the estate.

         C.        On Count Three, subordinating the claim of the Churches to all creditors and

providing that such claim shall have the same priority as common stock of the Debtor, and to the

extent required, ordering that any lien securing the Churches claim be transferred to the estate.

         DATED: December 10, 2018
                                                  LANE POWELL PC



                                                  By /s/ David W. Criswell
                                                    David W. Criswell, OSB No. 925930
                                                  Attorneys for Rodolfo A. Camacho, Trustee




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                     STOCK PURCHASE AND SALE AGREEMENT


       This STOCK PURCHASE AND SALE AGREEMENT ("Agreement) is executed

effective the 1st day of January, 2006, by and between CHRISTOPHER J. CHURCH and

SHERYL J. CHURCH ("Churches"), CONSTANTIN F. IONESCU ("Ionescu"), JAMES R.

CARTY ("Carty") and JON R. JONES ("Jones"). Ionescu, Carty and Jones may hereafter

be referred to individually as a "Buyer" and collectively as the "Buyers."   THREE J's

DISTRIBUTING, INC. (the "Company") is an Oregon corporation and is a party to this

Agreement with respect to a redemption of a portion of the Churches' shares of Company

and obtaining certain covenants from Churches and agreeing to provide a security interest

in the Company's assets to secure performance of the obligation of the Buyers.

                                       RECITALS

             WHEREAS, the principal place of business of the ·company is at

Clackamas, Oregon; and

             WHEREAS, Churches own two hundred (200) shares of voting common

stock of the Company ("Shares");

             WHEREAS, Churches intend to sell twenty-six (26) shares of the Company

to Company ("Redeemed Shares");

             WHEREAS, Churches desire to retain three (3) shares of the Company

stock ("Retained Shares") and to sell one-third (1/3) fifty-seven (57) of the Shares

remaining after transfer of the Redeemed Shares ("Remaining Shares")   to each Buyer;

             WHEREAS, each Buyer desires to buy one-third (1/3) fifty-seven (57) of the

Remaining Shares from Churches and each Buyer will. also purchase one of the three (3)

Retained Shares as specified in Section 2 of this Agreement; and



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               WHEREAS, each of the Buyers are and have been managerial employees

 of Company or contractors contracting with the Company for a number of years and are

. intimately familiar with the operations and financial affairs of the Company and are fully

 apprised thereof; and

              WHEREAS, the parties agree that the respective sale and redemptions shall

 be pursuant to the terms and conditions of this Agreement.

                                       AGREEMENT

              NOW, THEREFORE, in consideration of the premises herein set forth and

the Recitals which are incorporated by this referen.ce, the parties do hereby agree as

follows:

              1.     Redemption by Company.         Company hereby redeems twenty-six

(26) shares of common stock of the Company from Churches referred to as the

Redeemed Shares in exchange for a Picasso painting owned by the Company with a

value of Forty-Four Thousand One Hundred Dollars ($44,100), the termination of an

obligation to repay a loan from Company to Churches in the amount of Two Hundred

Seventy-Eight Thousand Dollars ($278,000), and a 2002 Cadillac Escalade with a value

of Twenty Thousand Five Hundred Sixty Dollars ($20,560).             Churches warrant to

Company that they have absolute and unencumbered title to the Redeemed Shares

free and clear of all claims, equities of others, security interests, mortgages, pledges,

liens, restrictions on transfers, and other encumbrances of every. nature whatsoever.

This sale of the Redeemed Shares to the Company shall be effective January 1, 2006.

              2.   Purchase by Buyers of Churches' One Hundred Seventy-Four (174)

Shares of Voting Common Stock. Churches hereby deliver to each Buyer fifty-seven

(57) of the Shares which are endorsed t? each Buyer for a purchase price of Eight


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  Hundred Thousand Dollars ($800,000.00), which amount is one third (1/3) of the

 Remaining Shares. In addition, one (1) share of the three (3) Retained Shares shall be

 sold to each Buyer on the date on which the purchase price for the remaining Shares is

 paid in full. The purchase price for the one (1) share to be sold to each Buyer shall be

 One Thousand Dollars ($1,000.00). Until such three (3) shares are sold and paid for,

 Seller shall retain all incidents of ownership of the Retained Shares.

              3.    Payment. The purchase price for the fifty-seven (57) Shares will be

 evidenced by a Promissory. Note ("Note") from each Buyer in the face amount of

 Eight Hundred Thousand Dollars ($800,000.00) payable according to the terms of the

 Note, a true copy of which is attached hereto as Exhibit A and by this reference

 incorporated herein. The Note will be executed contemporaneous with the execution of

 this Agreement. It is agreed by the Company and each Buyer (unless otherwise agreed

 to by Churches) that the Company will take all reasonable actions to forward funds to

 each Buyer monthly via electronic funds transfer in an amount equal to the payments to

 Churches, ahd one business day iater the monthly payments will be forwarded via

 electronic funds transfer to Churches' bank account. All parties will sign documents

 required to effect these electronic funds transfers. The purchase price for the remaining

 one (1) share being sold to each Buyer shall be $1,000, which amount shall be paid

 according to Section 2. No interest shall accrue on the purchase price for the Retained

 Shares.

              4.    Employment and Noncompetition Provisions. As an integral part of

 this transaction and contemporaneous with the execution of this Agreement, Company

 and each of Christopher Church and Sheryl Church will enter into an Employment

· Agreement, Exhibits B and C, with Ch~rches (respectively) whereby, in return for


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consideration set forth in such Employment Agreement and in partial consideration of

the terms hereof, agree to provide limited services to Company and agree to the

noncompetition and nonsolicitation provisions of such Employment Agreement. Should

a Buyer, Buyers or Company default under this Agreement, the Promissory Notes, Trust

Deeds, Pledge Agreements, Security Agreement(s), or other documents related to this

transaction ("Transaction Documents"), and the Churches give notice of such default to

the defaulting Buyer (and the default is not cured as specified in the Transaction

Documents), then the noncompetition provisions of the Employment Agreements shall

be terminated, and the Buyer in default shall be subject to a noncompetition provision

that he will not undertake any actions which are competitive with Company in any state

which Company does business, or sells any products to any of Company's clients for a

period of three (3) years after the later of such notice of default or Buyer no longer being

a Stockholder of Company, as specified in the Noncompetition Agreement dated

january 1, 2006, in the form specified in· Exhibit D.

              5.   Pledge Agreement.       Contemporaneous with the execution of this

Agreement, each Buyer will execute a Pledge Agreement encumbering the Remaining

Shares and the Gifted Shares owned by each such Buyer as security for repayment of such

Buyer's Note. The Pledge Agreements will be in the form attached as Exhibit E hereto and

by this reference incorporated herein.

              6.   Trust Deed. Contemporaneous with the execution of this Agreement,

each Buyer and each of Buyer's spouses will execute a trust deed encumbering his

personal residence as security for repayment of such Buyer's obligations under such

Buyer's Note ("Trust Deed"). Each Trust Deed will be in the form attached hereto as

Exhibit F and by this reference is incorpora~ed herein.


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              7.       Security Interest in Company Assets.                Contemporaneous with the

execution of the Agreement and in consideration for the noncompetition and other

provisions of the empl9yment agreement between Company and Sellers of approximately

even date herewith, and for other good and valuable consideration, Company shall

execute and deliver to Churches a security agreement encumbering all or substantially

all of the assets of the Company as security for repayment of the Notes '("Security

Agreement"). The Security Agreement will be in the form of Exhibit G and by this

reference is incorporated herein.

              8.      Closing. The closing for this Agreement shall be simultaneous with

and conditioned on, the execution of this Agreement and the execution and delivery of

the other documents described herein. The Closing Date shall be on or about January

6, 2006, with an effective date of January 1, 2006.

              9.      Representations, Warranties and Covenants of Churches. Churches

hereby represent and warrant to and covenant with Buyers as follows:

                      a.      That Churches have absolute and unencumbered title to the ·

Retained Shares and the Remaining Shares free and clear of all claims, equities of others,

security interests,        mortgages,   pledges,   liens,   restrictions    on transfer,   and other

encumbrances of every nature whatsoever;

                      b.      That there are no known proceedings or litigation of any kind

pending against Churches with respect to the -Retained Shares or Remaining Shares

which would or could constitute a lien on the Shares or which would or could contest

Churches' ownership of or rights to transfer ownership of the Shares to Buyers;

                      c.     That Churches own, free of all liens and encumbrances, the

Retained Shares and the Remaining Share$ and agree at their expense to defend Buyers'


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right, title and ownership of the Retained Shares and the Remaining Shares against the

claims and demands of all persons whomsoever arising before the closing, except for such

claims and demands by such persons claiming through Buyers or as a result of acts,

errors or omissions of Buyers; and

                       d.    That this Agreement has been duly and validly executed and

delivered by Churches and constitutes a valid and legally binding agreement and is

enforceable in accordance with its terms.

                       The foregoing representations and warranties shall be true and correct

as of and prior to closing and the representations and warranties set forth herein shall

survive the closing.

              10. Representations. Warranties and Covenants of Buyers. Each Buyer

hereby represents and warrants to and covenants with Churches as follows:

                        a.     That this Agreement has been duly and validly executed and

 delivered by Buyers and constitutes the valid and legally binding agreement of that Buyer

 and is enforceable in accordance with its terms;

                        b.     Both in his capacity as a former and/or current management

employee of Company and/or as a contractor with the Company, and in his status as a

potential purchaser of the Retained Shares and the Remaining Shares, each Buyer has

been given the opportunity to ask questions of the Company's officers and directors about

the Company's operation, products, and business plans;

                        c.     Both in his capacity as a former and/or current management

employee of Company and/or as a contractor with the Company, and in his status as a

potential purchaser of the Retained Shares and the Remaining Shares, each Buyer or his

agents have had the opportunity to examine the Company's books, records, accounts


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 and financial records and each Buyer has sufficient knowledge of the financial matters to

 analyze such material and evaluate the merits and risks of owning the Shares being sold

 hereunder. No Buyer has relied upon any verbal representations of Churches in

 determining to acquire the Shares;

                    d.   Each Buyer understands that the Shares have not been

registered under the Securities Act of 1933, as amended, or _any other federal or state

securities law, and that Buyers will have no right to require of Churches or the Company

such registration in the future and that each Buyer's right to transfer the Shares at some

point in the future may be restricted by the Securities. Act of 1933, as amended, as well as

by other relevant federal and state securities laws;

                    e.   Each Buyer acknowledges that he is acquiring the Shares for his

own account and not with a view toward resale or distribution; and

                    f.   Each Buyer agrees to execute and become a party to that Voting

Agreement and Stockholder Agreement attached hereto as Exhibit H.

                   g.    Carty does hereby agree to indemnify, defend and hold harmless

Churches and the Company against any claims, demands, liabilities, arbitrations and

lawsuits with respect to Carty's prior sales and merchandising business, including any

entities of which he was an owner.      Upon Churches or Company receiving a Claim or

notice of Claim, Churches or Company will give written notice to Carty, who will hire legal

counsel, reasonably acceptable to Churches and Company, which will defend Churches

and Company, and Carty will be responsible for any judgments, attorney fees or·costs in

any way related to the claim.




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                       The foregoing representations and warranties shall be true and correct

as of and prior to closing and the representations and warranties set forth herein shall

survive the closing.

               11. Default. If any Buyer fails to fulfill any obligation under this Agreement

or any of the Transaction Documents, then, after Seller gives ten (10) days written notice

of default and opportunity for such Buyer to cure (unless otherwise specified in the

Transaction Documents), such Buyer shall be in default and this Agreement and all of the

Transaction Documents shall be in default with respect to that Buyer and the Company. If

a Buyer is declared in default, then Seller shall give the Company and all other Buyers five

(5) days written notice and opportunity to cure such default. Seller shall only be required

to deliver two (2) such notices of default to the Company and nondefaulting Buyers in any

one calendar year. The Buyers and Company intend to enter into an agreement between

themselves regarding what shall occur if a nondefaulting Buyer or the Company cure a

defaulting Buyer's obligation.

              12. Notices. All demands and notices given hereunder shall be sent by

registered mail addressed to the respective parties at the addresses set forth below, or

to such other address as each may hereafter designate by registered mail.

       If to Churches:                      Christopher and Sheryl Church
                                            5433 SE Scenic Lane, #200
                                            Vancouver, WA 98661

      \/Vith a copy to:                     Darin D. Honn
                                            Sussman Shank LLP
                                            1000 SW Broadway, Suite 1400
                                            Portland, OR 97205

      If to Ionescu:                        Constantin F. .Ionescu
                                            5830 SW 17th Avenue
                                            Aloha, OR 97007



PAGE8-STOCKPURCHASEANDSALEAGREEMENT
 Exhibit A - Page 8 of 11
                        Case 18-03123-pcm Doc 1 Filed 12/10/18
        If to Carty:                        James R. Carty
                                            6259 SE 32nd Terrace
                                            Gresham, OR 97080

        If to Jones:                        Jon R. Jones
                                            13331 S. James Court
                                            Oregon City, OR 97045

                13. Arbitration. Any dispute or controversy arising out of or in connection

with this Agreement, or the breach thereof, shall be determined and settled by

arbitration in Portland, Oregon, in accordance with the rules of the U.S. Arbitration and

Mediation Service or the Arbitration Service of Portland, with the person commencing

arbitration choosing the arbitration service. Any award rendered therein shall be final

and binding on the parties and judgment may be entered thereon in any court of

competent jurisdiction. This provision shall not prevent a party from seeking in a court

of competent jurisdiction an order or judgment for provisional, equitable or injunctive

relief, or appearing or filing in a lawsuit where a third party not subject to this Arbitration

is a party or is a necessary party.

               14. Attorneys' Fees.       If Seller shall retain counsel to enforce this

Agreement or the Transaction Documents, the alleged defaulting Buyer shall be

responsible to pay the Seller's costs and attorney fees. Should an arbitration, lawsuit,

bankruptcy proceeding,       insolvency proceeding or an appeal from any of the

proceedings be filed, and Seller incurs any costs or attorney fees to protect its interest

or enforce or interpret this Agreement or the Transaction Documents, then Seller's costs

and attorney fees shall be paid by the alleged defaulting Buyer, unless it is found by the

judge, jury or arbitrator that the Buyer is not in default, at which time the prevailing

party(ies) shall be entitled to its/their costs and attorney fees. ·




PAGE9 - STOCK PURCHASE AND SALE AGREEMENT
 Exhibit A - Page 9 of 11
                        Case 18-03123-pcm Doc 1 Filed 12/10/18
                 15. Binding Effect. This Agreement shall be binding upon and inure to

the benefit of the respective parties hereto, their legal representatives, successors and

assigns.

                 16. Entire Agreement.      This Agreement supersedes all agreements

previously made between the parties hereto, their legal representatives, successors and

assigns.

                 17. Non-Waiver.   No delay or failure by any party to exercise any right

under this Agreement, and no partial or single exercise of that right, shall constitute a

w_aiver of that or any other right, unless otherwise expressly provided herein.

                 18. Headings. Headings in this Agreement are for convenience only and

shall not be used to interpret or construe its provisions.

                 19. Governing Law. This Agreement shall be construed in accordance

with and governed by the laws of the State of Oregon.

                 20. · Advice of Counsel.    Churches, Company and Buyer by their

signatures hereby:

                       a.    Acknowledge that Darin D. Honn and Sussman Shank LLP

have provided legal advice to only Churches in connection with this transaction.

                       b.    Acknowledge that each has been advised to seek separate

legal counsel.

                       c.    Acknowledge that Darin D. Honn and Sussman Shank LLP

have provided legal services to Three J's Distributing, Inc. and Constantin F. Ionescu on

unrelated matters and may continue to do so in the future.




PAGE 10 - STOCK PURCHASE AND SALE AGREEMENT
 Exhibit A - Page 10 of 11
                        Case 18-03123-pcm Doc 1 Filed 12/10/18
                            d.        Consent to Darin D. Honn and Sussman Shank LLP

 representing only Churches in this transaction and waive any conflict of interest, if any,

 which may potentially exist.

                   21.    Construction.         The terms of this Agreement and the Transaction

 Documents were negotiated between the parties, and should any ambiguity occur, it

 shall not be construed against any party as the drafter.

                   21.    Payment of Fees and Costs. All parties hereto agree that Company

shall reimburse Churches for all attorney fees or costs incurred in this transaction.

                   22.    Effective Date. The effective date of the sale of Churches' sale of the

Redeemed Shares to Company and the Remaining to Buyers shall be the 1st day of

January, 2006.




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PAGE11-STOCKPURCHASEANDSALEAGREEMENT
 Exhibit A - Page 11 of 11
                        Case 18-03123-pcm Doc 1 Filed 12/10/18
                                    PROMISSORY NOTE

$800,000.00                            January 1, 2006                     Portland, Oregon



               FOR VALUE RECEIVED, the undersigned promises to pay to the order of

Christopher J. Church and Sheryl J. Church, at 5433 SE Scenic Lane, #200, Vancouver,

Washington     98661, the principal sum of Eight Hundred Thousand and 00/100 Dollars

($800,000.00), together with interest on the unpaid principal balance.

               The undersigned shall pay equal monthly payments in the amount of Four

Thousand dollars ($4,000) for the first thirty-six (36) months commencing January 1, 2006

with the first payment due February 1, 2006. During the first thirty-six (36) month period,

the unpaid principal balance shall accrue interest at the rate of Four and One Half percent

(4.5%) which is included in the payment. Commencing January 1, 2009, the balance shall

be amortized beginning January 1, 2009 and continuing for sixty (60) months with a

payment of Five Thousand Dollars ($5,000) at the interest rate of Five and One Half

percent (5.5%) which is included in such payment. The new payment amount will begin

on February 1, 2009, and continue through January 1, 2014. Commencing January 1,

2014, the balance shall be amortized over one hundred and forty-four (144) months at the

interest rate equal to the rate charged on ten (10) year treasury notes, plus one percent

(1 %), until January 1, 2026, when all unpaid balance of principal and interest shall be due

and payable in full.   The interest rate shall be adju·sted to reflect changes in the rate

charged on ten (10) year treasury notes on January 1, 2015, and thereafter on the 1st day

of January of each succeeding year. The amount of the required monthly payment shall




PAGE 1 - PROMISSORY NOTE
 Exhibit B - Page 1 of 4
                           Case 18-03123-pcm   Doc 1     Filed 12/10/18
be recalculated as of January 1 of each year, commencing January 1, 2015 to reflect

change in the interest rate. Each monthly payment shall be made· on the 1st ·day of each

month.

               In the event any payment (including, without limitation, any interim or final

payment of principal) hereunder is not received by the holder hereof within ten (10) days of

the due date thereof or should a default occur under the Pledge Agreement or the Trust

Deed given as security for this Note and after the expiration of any applicable cure period,

if any, the holder may exercise any one or more of the following remedies c1s well as any

other remedies available at law or in equity:

              i)      cause the unpaid principal balance to bear interest at a default rate of

the non-default rate of interest plus five percent (5%) per annum;

              ii)     charge a late fee of five percent (5%) of the amount past due;

              iii)    declare all sums owing hereunder immediately due and payable.

              The undersigned agrees to pay all collection costs and reasonable attorneys'

fees incurred or paid by the holder of this Note in protecting or enforcing its rights

hereunder whether or not a lawsuit is commenced and including any costs and attorneys'

fees incurred in any proceeding under the federal bankruptcy laws or incurred in an appeal

from any of the foregoing.

              All parties liable, either now or hereafter, for the payment of this Note,

hereby jointly and severally waive presentment, notice of dishonor, protest, demand and

notice of nonpayment hereof, and notices of all kinds, and agree that any modification of

the terms of payment or extension of time of payment shall in no way impair their liability,




PAGE 2 - PROMISSORY NOTE
 Exhibit B - Page 2 of 4
                           Case 18-03123-pcm    Doc 1    Filed 12/10/18
and further agree that all or any part of any collateral securing this Note may be released

without impairing their liability.




                                                    Co stantin F. Ionescu




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PAGE 3 - PROMISSORY NOTE
 Exhibit B - Page 3 of 4
                             Case 18-03123-pcm     Doc 1   Filed 12/10/18
                               ADDENDUM TO PROMISSORY NOTE
                               DATED EFFECTIVE JANUARY 1, 2006

       Reference is made to that certain Promissory Note dated effective January 1,
2006, in the principal amount of $800,000, under which Constantin F. Ionescu is the
Maker and Christopher J. Church and Sheryl J. Church are the Holders, wnich shall
remain in full force and effect, and is hereby modified solely as follows, with no waiver of
any terms thereof:

       Maker may prepay the principal amount outstanding in whole or in part at any
time without penalty.

       This Note is secured by a Pledge Agreement dated effective January           1, 2006
between Constantin F. Ionescu and Christopher J. Church and Sheryl J. Church        and the
Line of Credit Trust Deed dated January 6, 2006, which Line of Credit Trust Deed    secures
up to One Hundred Thousand Dollars ($100,000) in debt, between Constantin F.        Ionescu
and Natalia G. Ionescu and Christopher Church and Sheryl Church.


DATED January21, 2006.




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  Exhibit B - Page 4 of 4
                              Case 18-03123-pcm            Doc 1   Filed 12/10/18
                                    PROMISSORY NOTE

$800,000.00                            January 1, 2006                    Portland, Oregon



               FOR VALUE RECEIVED, the undersigned promises to pay to the order of

Christopher J. Church and Sheryl J. Church, at 5433 SE Scenic Lane, #200, Vancouver,

Washington     98661, the principal sum of Eight Hundred Thousand and 00/100 Dollars

($800,000.00), together with interest on the unpaid principal balance.

               The undersigned shall. pay equal monthly payments in the amount of Four

Thousand dollars ($4,000) for the first thirty-six (36) months commencing January 1, 2006

with the first payment due February 1, 2006. During the first thirty-six (36) month period,

the unpaid principal balance shall accrue interest at the rate of Four and One Half percent

(4.5%) which is included in the payment. Commencing January 1, 2009, the balance shall

be amortized beginning January 1, 2009 and continuing for sixty (60) months with a

payment of Five Thousand Dollars ($5,000) at the interest rate of Five and One Half

percent (5.5%) which is included in such payment. The new payment amount will begin

on February 1, 2009, and continue through January 1, 2014.        Commencing January 1,

2014, the balance shall be amortized over one hundred and forty-four (144) months at the

interest rate equal to the rate charged on ten (10) year treasury notes, plus one percent

(1%), until January 1, 2026, when all unpaid balance of principal and interest shall be due

and payable in full.   The interest rate shall be adjusted to reflect changes in the rate

charged on ten (10) year treasury notes on January 1, 2015, and thereafter on the 1st day

of January of each succeeding year. The amount of the required monthly payment shall




PAGE 1 - PROMISSORY NOTE

 Exhibit C - Page 1 of 3
                           Case 18-03123-pcm   Doc 1     Filed 12/10/18
 be recalculated as of January 1 of each year, commencing January 1, 2015 to reflect

 change in the interest rate. Each monthly payment shall be made on the 1st day of each

month.

              In the event any payment (including, without limitation, any interim or final

payment of principal) hereunder is not received by the holder hereof within ten ( 10) days of

the due date thereof or should a default occur under the Pledge Agreement or the Trust

Deed given as security for this Note and after the expiration of any applicable cure period,

if any, the holder may exercise any one or more of the following remedies as well as any

other remedies available at law or in equity:

              i)     cause the unpaid principal balance to bear interest at a default rate of

the non-default rate of interest plus five percent (5%) per annum;

              ii)    charge a late fee of five percent (5%) of the amount past due;

              iii)   declare all sums owing hereunder immediately due and payable.

              The undersigned agrees to pay all collection costs and reasonable attorneys'

fees incurred or paid by the h-older of this Note in protecting or enforcing its rights

hereunder whether or not a lawsuit is commenced and including any costs and attorneys'

fees incurred in any proceeding under the federal bankruptcy laws or incurred in an appeal

from any of the foregoing.

              All parties liable, either now or hereafter, for the payment of this Note,

hereby jointly and severally waive presentment, notice of dishonor, protest, demand and

notice of nonpayment hereof, and notices of all kinds, and agree that any modification of

the terms of payment or extension of time of payment shall in no way impair their liability,




PAGE 2 - PROMISSORY NOTE

 Exhibit C - Page 2 of 3
                           Case 18-03123-pcm    Doc 1   Filed 12/10/18
and further agree that all or any part of any collateral securing this Note may be released

without impairing their liability.




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PAGE 3 - PROMISSORY NOTE

 Exhibit C - Page 3 of 3
                             Case 18-03123-pcm   Doc 1   Filed 12/10/18
                                    PROMISSORY NOTE

$800,000.00                           January 1, 2006                      Portland, Oregon



              FOR VALUE RECEIVED, the undersigned promises to pay to the order of

Christopher J. Church and Sheryl J. Church, at 5433 SE Scenic Lane, #200, Vancouver,

Washington    98661, the principal sum of Eight Hundred Thousand and 00/100 Dollars

($800,000.00), together with interest on the unpaid principal balance.

              The undersigned shall pay equal monthly payments in the amount of Four

Thousand dollars ($4,000) for the first thirty-six (36) months commencing January 1, 2006

with the first payment due February 1, 2006. During the first thirty-six (36) month period,

the unpaid principal balance shall accrue interest at the rate of Four and One Half percent

(4.5%) which is included in the payment. Commencing January 1, 2009, the balance shall

be amortized beginning January 1, 2009 and continuing for. sixty (60) months with a

payment of Five Thousand Dollars ($5,000) at the interest rate of Five and One Half

percent (5.5%) which is included in such payment. The new payment amount will begin

on February 1, 2009, and continue through January 1, 2014.        Commencing January 1,

2014, the balance shall be amortized over one hundred and forty-four (144) months at the

interest rate equal to the rate charged on ten (10) year treasury notes, plus one percent

(1 %), until January 1, 2026, when all unpaid balance of principal and interest shall be due

and payable in full.   The interest rate shall be adjusted to reflect changes in the rate

charged on ten (10) year treasury notes on January 1, 2015, and thereafter on the 1st day

of January of each succeeding year. The amount of the required monthly payment shall




PAGE 1 - PROMISSORY NOTE

 Exhibit D - Page 1 of 4
                           Case 18-03123-pcm   Doc 1    Filed 12/10/18
be recalculated as of January 1 of each year, commencing January 1, 2015 to reflect

change in the interest rate. Each monthly payment shall be made on the 1st day of each

month.

               In the event any payment (including, without limitation, any interim or final

payment of principal) hereunder is not received by the holder hereof within ten (10) days of

the due date thereof or should a default occur under the Pledge Agreement or the Trust

Deed given as security for this Note and after the expiration of any applicable cure period,

if any, the holder may exercise any one or more of the following remedies as well as any

other remedies available at law or in equity:

               i)     cause the unpaid principal balance to bear interest at a default rate of

the non-default rate of interest plus five percent (5%) per annum;

               ii)    charge a late fee of five percent (5%) of the amount past due;

               iii)   declare all sums owing hereunder immediately due and payable.

               The undersigned agrees to pay all collection costs and reasonable attorneys'

fees incurred or paid by the holder of this Note in protecting or enforcing its rights

hereunder whether or not a lawsuit is commenced and including any costs and attorneys'

fees incurred in any proceeding under the federal bankruptcy laws or incurred in an appeal

from any of the foregoing.

              All parties liable, either now or hereafter, for the payment of this Note,

hereby jointly and severally waive presentment, notice of dishonor, protest, demand and

notice of nonpayment hereof, and notices of all kinds, and agree that any modification of

the terms of payment or extension of time of payment shall in no way impair their liability,




PAGE 2 - PROMISSORY NOTE

  Exhibit D - Page 2 of 4
                            Case 18-03123-pcm    Doc 1   Filed 12/10/18
and further agree that all or any part of any collateral securing this Note may be released

without impairing their liability.


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PAGE 3 - PROMISSORY NOTE
 Exhibit D - Page 3 of 4
                             Case 18-03123-pcm   Doc 1      Filed 12/10/18
                               ADDENDUM TO PROMISSORY NOTE
                               DATED EFFECTIVE JANUARY 1, 2006

       Reference is made to that certain Promissory Note dated effective January 1,
2006, in the principle amount of $800,000, under which Jon R. Jones is the Maker and
Christopher J. Church and Sheryl J. Church are the Holders, which shall remain in full
force and effect, and is hereby modified solely as follows, with no waiver of any terms
thereof:

       Maker may prepay the principal amount outstanding in whole or in part at any
time without penalty.

       This Note is secured by a Pledge Agreement dated effective January 1, 2006
between Jon R. Jones and Christopher J. Church and Sheryl J. Church and the Line of
Credit Trust Deed dated January 6; 2006, which Line of Credit Trust Deed secures up to
One Hundred Thousand Dollars ($100,000) in debt, between Jon R. Jones and Sharon L.
Jones and Christopher Church and Sheryl Church.

                           1
DATED January ~,cr~ 2006.


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                                                               J&n R. Jones




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                               Case 18-03123-pcm           Doc 1                Filed 12/10/18
                               · SECURITY AGREEMENT



                                         PARTIES

 "Debtor":                  Three J's Distributing, Inc.
                            16123 SE 98th Bldg B .
                            Clackamas, OR 97015


 "Secured Parties":         Christopher J. Church and
                            Sheryl J. Church
                            5433 SE Scenic Lane, #200
                            Vancouver, Washington 98661

 Dated Effective:           January 1, 2006


 1.    GRANT OF SECURITY INTEREST

       For valuable consideration, including the Secured Parties' entering into
noncompetition provisions, the receipt and sufficiency of which is hereby acknowledged,
Debtor hereby grants, transfers, and assigns to Secured Parties a lien upon and security
interest in the following personal property of Debtor, wherever located, whether now
owned or existing or hereafter acquired or created (hereinafter all collectively called
"Collateral"):

        1.1   Accounts, Notes, contracts, contract rights, chattel paper, electronic
chattel paper, cash, checks, drafts, documents, instruments, money, letter of credit
rights, promissory Notes, deposit and commodity accounts, including without limitation
the following: investment property, commercial tort claims, payment intangibles, all
rights of Debtor to receive payment in money or kind, all related supporting obligations
and security, and ail other evidence of indebtedness owed to Debtor from whatever
source arising;

       1.2   General intangibles, including, without limitation, any and all choses in
action, goodwill, patents, trademarks, accounts, tax refunds, rights under contracts of
insurance, and customer lists;

      . 1.3   Equipment, goods, software, furniture, vehicles, and trade fixtures;

      1.4    Inventory (including goods consigned to Debtor), raw materials, farm
products, and work in process;

        1.5    All records and documents relating to any and all of the foregoing
including, without limitation, records of accounts and customers whether in the form of
writing, microfilm,. microfiche, tape, or electronic media;
Page 1 -      SECURITY AGREEMENT
Exhibit E - Page 1 of 12
                       Case 18-03123-pcm      Doc 1    Filed 12/10/18
         1.6   All products, Proceeds, increases, accessions, renewals, replacements, and
 substitutions of and to any and all of the foregoing.

            "Proceeds" shall include proceeds of insurance policies on the Collateral,
 including, without limitation, business interruption insurance. Where the Debtor and the
 owner of the Collateral are not the same, "Debtor" herein shall mean the owner of the
 Collateral, or shall mean both the owner and Debtor as the context requires to give the
 Secured Parties the broadest rights and remedies.

 2.     OBLIGATIONS SECURED

        The security interest granted herein secures payment and performance of:

         2.1    The debt of Constantin F. Ionescu, James R. Carty and Jon R. Jones
 (collectively the "Borrowers") to the Secured Parties as evidenced by their Promissory
 Notes, all of even date herewith, payable to the Secured Parties each in the principal
 amount of Eight Hundred Thousand dollars ($800,000) and all renewals, -modifications,
 and extensions thereof (the "Notes"); and

           2.2    Performance of Debtor's obligations herein and the obligations of
 Constantin F. Ionescu, James R. Carty and Jon R. Jones herein and of all other
 liabilities, direct or indirect, absolute or contingent, now existing or hereafter arising from
 the Debtor, Constantin F. Ionescu, James R. Carty and Jon R. Jones to the Secured
 Parties, including but not limited to all amounts owing to Secured Parties for covenants
 given and shares sold by Secured Parties to Debtor, Constantin F. Ionescu, James R.
 Carty and Jon R. Jones;

 3.    SUBORDINATION. The security interest created by this Agreement shall be
 subordinate to security interests in favor of other lenders providing financing to the
 Debtor for business operations purposes of up to one hundred thousand dollars
 ($100,000) which financing shall be on commercially reasonable terms.

 4.     DEBTOR'S REPRESENTATIONS, WARRANTIES, AND COVENANTS

        Debtor represents, warrants, and covenants to Secured Parties as follows:

         4.1   Lien Priority. The Collateral is owned by Debtor and is free and clear of all
 liens, encumbrances, and claims of anyone else whatsoever except for the liens listed
 in Exhibit A. The Secured Parties' lien shall be subject to the liens listed in Exhibit A.
 Debtor further agrees not to grant any other security interest in the Collateral or to
 permit any involuntary lien or encumbrance to attach to the Collateral.

        4.2    Location/Name of Collateral. Debtor represents and warrants that:

               4.2.1 The Debtor's exact name is as set forth above;



Page 2 -       SECURITY AGREEMENT
Exhibit E - Page 2 of 12
                       Case 18-03123-pcm       Doc 1    Filed 12/10/18
                4.2.2 The Debtor is a registered organization, organized in the State of
 Oregon, organizational identification number 010106-85, and. its federal taxpayer
 identification number is XX-XXXXXXX.      The Debtor is located at 16251 SE 98th
 Clackamas, Oregon 97015.

      4.3    Notice of Post-Perfection Changes. The Debtor will immediately notify the
Secured Parties of:

           4.3.1 Any change in the name of the Debtor or the Debtor's use of an
assumed business or trade name;

            4.3.2 Any change in the state of the Debtor's location (as that term is
used in ORS 79.0307);

              4.3.3 Any merger between the Debtor and any third party and of any
transfer by or to the Debtor of substantially all of the assets and liabilities of any entity;

              4.3.4 Any substantial damage to or loss or destruction of any essential or
material part of the Collateral, whether or not covered by insurance.

        4.4    UCC Financing Statements. The Debtor authorizes Secured Parties to
authenticate and file all records (including initial Financing Statements, Certificates of
Title, and control instructions to third parties, amendments, continuation statements,
etc.) that are reasonably required by the Secured Parties to perfect and continue their
security interest in the Collateral. The Debtor authorizes the Secured Parties to indicate
that the Financing Statement covers all assets or all personal property. The Debtor will
execute (sign, acknowledge when necessary, and deliver) any other records or
documents necessary to perfect and continue the security interest under applicable
federal or state statute, regulation, or treaty, including any Financing Statement
necessary to perfect a security interest in fixtures.

       4.5    Insurance. Debtor shall insure the Collateral against loss from all hazards
and shall maintain workers compensation insurance covering all employees and shall
provide Secured Parties with evidence of all such coverage. Debtor will furnish Secured
Parties, upon request, with a summary in form and substance satisfactory to Secured
Parties of the insurance coverage of the Debtor, certified by the president or chief
executive officer of the Debtor to be complete and correct and, if requested, will furnish
Secured Parties with copies of all applicable policies. The Debtor will cause any and all
insurance policies insuring the Collateral or any part thereof to name Secured Parties as
loss payees thereunder and to contain a provision requiring at least ten (10) days prior
notice of cancellation to Secured Parties.

       4.6     No Sale of Collateral Without Consent. Debtor shall not dispose of any
Collateral without Secured Parties' prior permission, except Debtor can dispose of
inventory in the ordinary course of Debtor's business. In no event shall Debtor waste or
destroy the Collateral or use any Collateral in violation of any statute, ordinance or
policy of insurance.


Page 3 -       SECURITY AGREEMENT
Exhibit E - Page 3 of 12
                       Case 18-03123-pcm      Doc 1    Filed 12/10/18
        4.7     Inspection of Records, Further Assurances.          Debtor shall, at all
 reasonable times and from time to time, allow Secured Parties, by or through any of
 their agents, attorneys, and accountants, to examine, inspect, and make extracts from
 the books, records, and correspondence of Debtor and any sub~idiaries of Debtor.
 Debtor, at all reasonable times and from time to time, shall, and shall cause its
 subsidiaries, if any, to allow Secured Parties, by or through any of Secured Parties'
 agents, attorneys, and accountants, to examine, inspect, and check any inventory or
 other Collateral. Debtor shall provide Secured Parties with access to the Collateral and
 to provide any office space (including computer hardware, operating systems, and
 software) that is reasonably necessary for the exercise of the foregoing rights·. Secured
 Party may request and obtain an audit of the assets of Debtor, which will be conducted
 by the designee of Secured Party. Debtor agrees to pay up to $500 for such audit
 annually, if requested by Secured Party.

         4.8   Maintenance of Status. Debtor will, at all times, maintain its corporate
 existence, remain or become a corporation in good standing in each jurisdiction in which
 it is required to be qualified, and maintain all patents, trademarks, franchises, and
 licenses necessary in its business to comply with all valid and applicable statutes, rules,
 and regulations.

        4.9   Taxes and Other Liens. Debtor agrees to pay when due all taxes and
 assessments, governmental charges, claims for labor, supplies, rent, and other
 obli§ations which, if unpaid, might become a lien against any assets of the Debtor.

       4.10 Further Assurances.        Debtor will promptly cure any defects in the
execution and delivery of this Security Agreement, the Notes, and any other instruments
and documents referred to, mentioned, or executed in connection herewith or therewith.
The Debtor will immediately execute and deliver to Secured Parties, upon request, all
Security Agreements, Financing Statements, Certificates of Title, Deeds of Trust;
Mortgages, Landlord Waivers, and any other instruments and documents requested by
Secured Parties in any form satisfactory to Secured Parties to accomplish any
covenants and agreements of the Debtor under this Security Agreement, the Notes, and
under any other documents and instruments executed in connection herewith and
therewith.

       4.11 Performance of Obligations. The Debtor will do, pay, and perform every
action and discharge all of the obligations provided to be performed and discharged
under the Security Agreement, Notes, and any and all instruments and documents
referred to, mentioned, or in connection herewith and therewith at the time or times and
in the manner therein or herein specified. The Debtor will also perform all obligations to
be performed pursuant to the terms of each other indenture, agreement, contract, and
other instrument by which the Debtor is bound.

        4.12 Compliance With Laws. Debtor will, at all times, comply with all laws,
rules, regulations, orders, and directions of. any governmental authority having
jurisdiction over it or any aspect of its business.



 Page 4 -       SECURITY AGREEMENT
Exhibit E - Page 4 of 12
                       Case 18-03123-pcm     Doc 1    Filed 12/10/18
        4.13 Preservation of Collateral. Debtor will preserve the Collateral protect it
                                                                                    1

 from misuse, and use and maintain the Collateral in a careful and proper manner and in
 conformity with all applicable statutes laws, ordinances and regulations and with all
                                          1                         1

 required permits and licenses.

        4.14 Delivery of Title Documents. Debtor will immediately deliver to Secured
 Parties all Collateral which is negotiable documents instruments security certificates
                                                            1           1                     1

 tangible chattel paper! and all certificates of title and will provide any endorsements and
                                                   1


 third party acknowledgments reasonably required by Secured Parties with respect to
 such items of Collateral.

 5.     DISCLAIMER

         Secured Parties do not assume and shall· not be subject to any obligation or liability
 to any third parties in connection with any of the Collateral.

 6.     PAYMENTS BY SECURED PARTIES

       In the event Debtor fails to make any payment or perform any act required
hereunder Secured Parties may in their sole discretion but shall not be obligated to do
               1                   1                            1


so. Any such sums paid or advanced by Secured Parties including without limitation
                                                                            1                 1

taxes, mortgage payments, insurance premiums, attorneys fees whether awarded by a
court or incurred otherwise, rent payments, repossession costs, and costs of preserving
the Collateral and associated with operating Debtor's business upon default, shall become
a part of the indebtedness secured hereby, which Debtor promises to pay on demand
together with interest on any such advance from the date of expenditure until repaid at a
rate equal to that provided in the most recently executed Notes secured hereby plus five
percent (5%) per annum and, if there is no such Notes, at twelve percent (12%) per
annam. At Secured Parties' option, such sums may be added to the balance of the Notes.

7.     WAIVERS; NO DUTY

        7.1    Debtor.    Debtor hereby waives demand notice protest, notice of
                                                                    1   1


acceptance of this Security Agreement, notice of credit extended, and notice of any other
action taken in reliance hereon and all other demands and notices of any description. This
Security Agreement shall not be qualified or supplemented by course of dealing. No
waiver or modification by Secured Parties of any of the terms or conditions of this Security
Agreement shall be effective unless in writing and signed by Secured Parties. No waiver
or indulgence by Secured Parties as to any required performance or other obligation of
Debtor shall be construed as a waiver of any right on any future occasions. With respect
to the indebtedness secured hereby and the Collateral Debtor assents to any extension or
                                                        1

postponement of the time of payment or any other indulgence, to any substitution,
exchange or release of Collateral, to the addition or release of any party or person
           1

primarily or secondarily liable! to the acceptance of partial payments and to the
                                                                                1


settlement, compromising and adjusting of any thereof, all in such manner and at such
                           1

time or times as Secured Parties may, in their sole discretion, deem advisable. Secured
Parties shall have no duty as to the collection or protection of Collateral or any income
thereon, nor as to the preservation of any: ri~hts against prior parties. Secured Parties
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 shall have no obligation to marshal Collateral or to proceed in reverse order of alienation.
 Debtor waives all suretyship defenses.

         7.2     Borrowers. The obligations of the Debtor under this Security Agreement
 shall be absolute and unconditional and shall remain in full force and effect until the
 entire' principal, interest, penalties, premiums and late charges, if any, on the Notes and
 all additional payments, if any, due pursuant to any other document executed in
 connection with the Notes (the "Loan Documents") (collectively, the "Obligations") shall
 have been paid and, until such payment has been made, shall not be discharged,
 affected, modified or impaired on the happening from time to time of any event,
 including, without limitation, any of the following, whether or not with notice to or the
 consent of the Debtor:

              7.2.1 The waiver, compromise, settlement, release, termination or
       amendment (including, without limitation, any extension or postponement of the
       time for payment or performance or renewal or refinancing) of any or all of the
       Obligations or agreements of any of the Borrowers under the Notes or any other
       loan aocument;

              7.2.2 The failure to give notice to the Debtor of the occurrence of a
       default under the terms and provisions of the Notes or any other loan document;

              7.2.3 The release, substitution or exchange by the Secured Parties of the
       Collateral (whether with or without consideration) or the acceptance by the
       Secured Parties of any additional Collateral or the availability or claimed
       availability of any other Collateral or source of repayment or any non perfection or
       other impairment of any Collateral;

               7.2.4 The release of any of the Borrowers, Debtor or any other person
       primarily or secondarily liable for all or any part of the Obligations, whether by the
       Secured Parties or any other holder of the Notes or in connection with any
       voluntary or involuntary liquidation, dissolution, receivership, insolvency,
       bankruptcy, assignment for the benefit of creditors or similar event or proceeding
       affecting any or all of the Borrowers, Debtor or any other person or entity who, or
       any of whose property, shall at the time in question be obligated in respect of the
       Obligations or any part thereof; or

              7.2.5 To the extent permitted by law, any other event, occurrence, action
       or circumstance that would, in the absence of this clause, result in the release or
       discharge of any or all of the Borrowers or Debtor from the performance or
       observance of any Obligation, covenant or agreement contained in this Security
       Agreement.

       7.3    Full Force and Effect. The obligations of the Debtor to Secured Parties
under the Obligations shall remain in full force and effect (or be reinstated) until Secured
Parties have received payment in full of all Obligations and the expiration of any
applicable preference or similar period pursuant to any bankruptcy, insolvency,
reorganization, moratorium or similar law, :or_ at law or equity, without any claim having
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been made before the expiration of such period asserting an interest in all or any part of
any payment(s) received by Secured Parties.

      7.4     Enforcement. The Debtor expressly agrees that the S~cured Parties shall
not be required first to institute any suit or to exhaust its remedies against any of the
Borrowers or Debtor or any other person or party to become liable hereunder or against
any Collateral, in order to enforce the Obligations.

8.     COLLECTION OF ACCOUNTS

        Unless otherwise agreed, Debtor shall have the right to collect the proceeds of
accounts directly from its account debtors. Upon default, upon request of Secured Parties,
Debtor shall notify its account debtors of the security interest of Secured Parties in such
accounts, and Secured Parties may, in their sole discretion, notify the account debtors of
Secured Parties' security interest in such accounts. Thereafter, Secured Parties shall
have the right to collect, compromise, release, and discharge and to otherwise deal with
such account debtors on Debtor's behalf. Debtor hereby designates and appoints
Secured Parties, their successors and assigns, Debtor's true and lawful agent and
attorney, with powers irrevocable, and for Debtor and in Debtor's name, place and stead,
to ask, demand, receive, receipt, compromise, and give acquittance for any and all
accounts which may be or become due by any other party in connection with any such
accounts and, at Secured Parties' sole option, to file any claim or take any action or
proceeding either in their own name, or in the name of Debtor, or otherwise, which
Secured Parties deem necessary or desirable in order to collect or enforce payment of any
and all accounts.

9.     EVENTS OF DEFAULT

       Each and all of the following shall be events of default under this Security
Agreement if not cured within ten (10) days after written notice to Debtor and to each of
the Borrowers:

      9.1    Default in the payment, when due or payable, of any indebtedness of
Borrowers to Secured Parties, including but not limited to the Notes;

       9.2    The failure of Debtor or Borrowers to perform when or before due any
other obligation of Debtor or Borrowers to Secured Parties whether under this Security
Agreement or under any loan documents;

       9.3     Secured Parties shall, in their sole reasonable discretion, deem that
reasonable grounds exist for insecurity with respect to performance by the Debtor or
Borrowers with respect to this Security Agreement, the Notes, or any loan documents or
instruments executed in connection therewith, and Debtor fails to provide (within five (5)
calendar days after Secured Parties give written notice to Debtor that, in Secured
Parties' discretion, reasonable grounds for such. insecurity exists) adequate assurance
satisfactory to Secured Parties of due performance.



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        9.4     Debtor shall: (i) discontinue business for more than five (5) consecutive
days, (ii) make a general assignment for the benefit of creditors, (iii) apply for or consent
to the appointment of a receiver, trustee, or liquidator of itself or of all or a substantial
part of its assets, (iv) be adjudicated bankrupt or insolvent, (v) file a voluntary petition in
bankruptcy or file a petition or answer seeking reorganization or an arrangement with
creditors or seek to take advantage of any other law, whether federal or state, .relating to
relief of debtors, or admit (by answer, by default, or otherwise) the material allegations
of a petition filed against it in any bankruptcy, reorganization, arrangement, insolvency,
or other proceeding (whether federal or state) relating to relief of debtors, (vi) permit or
suffer any judgment, decree, or order entered by a court of competent jurisdiction which
approves a petition seeking reorganization of the Debtor or which appoints a receiver,.
trustee, or liquidator of the Debtor or of all or a substantial part of any of the assets of
Debtor, or (vii) take or omit to take any action for the purpose or result of effecting or
permitting any of the foregoing.                  ·

10.    CROSS DEFAULT

       Default hereunder shall, at Secured Parties' option, also constitute default under all
other agreements between Secured Parties and Debtor, and default under any other such
agreements shall, at Secured Parties' option, constitute a default hereunder.

11.    REMEDIES UPON DEFAULT

       Upon the occurrence of any of the above events of default, Secured Parties shall
have the following rights, which rights are cumulative and are in addition to all of the
rights and remedies of a Secured Parties at law or in equity or under the Uniform
Commercial Code of Oregon:

       11.1 Secured Parties may declare immediately due and payable any and all
indebtedness owed by Debtor or one or more Borrowers to Secured Parties and may
terminate any commitments, if any, to make any loans or to otherwise extend credit to
Debtor;

       11.2 Regardless of where any Collateral or the books and records are located,
Secured Parties may require Debtor to assemble all Collateral and Debtor's books and
records in one or more locations and make such Collateral. and the books and records
available to Secured Parties;

      11.3 Without removal, Secured Parties may render the Collateral unusable and
may dispose of the Collateral on Debtor's premises;

       11.4 Secured Parties may request confirmation from any account debtor of the
status of any account upon which the account debtor is obligated;

       11.5 Secured Parties may require Debtor to segregate any and all Collateral
and collections and proceeds of the Collateral so that they are capable of identification,
and to deliver to Secured Parties daily such collections and proceeds in kind;


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         11.6 Secured Parties may endorse or sign the name of Debtor on all checks,
 drafts, collections, receipts, or other documents, and to take possession of and open the
 mail addressed to Debtor and remove therefrom any payments and proceeds of the
 Collateral;

         11.7 Secured Parties, in their sole discretion, may, with or without notice, upon
 filing a lawsuit to enforce or preserve its rights under this Security Agreement or at any
 time while such lawsuit is pending, apply for and secure the appointment of a receiver to
 take possession of and operate and manage Debtor's business and/or the Collateral
 and the income, rents, and proceeds therefrom. The receiver may be an employee of
 Secured Parties. Debtor hereby expressly waives any requirement that Secured Parties
 or the receiver post a bond upon the appointment of such receiver;

        11.8 Secured Parties shall also have the right to enter upon the property where
 any Collateral is located and take possession of such Collateral and use such property,
 including any buildings or facilities, and any of Debtor's assets, as Secured Parties
 deem such use necessary or advisable in order to take possession of, hold, preserve,
 process; assemble, collect on, prepare for sale or lease, market for-sale or lease, sell,
 lease, or otherwise dispose of said Collateral;

       11.9 Secured Parties may remedy any default and waive any default without
waiving the default remedies and without waiving any other prior or subsequent default;
and

        11.10 Secured Parties may grant extensions, and compromise and settle claims
with respect to the Collateral, for less than face value, all without prior notice to Debtor.
Debtor agrees to pay Secured Parties' expenses of retaking, holding, preparing for sale,
selling, and the like, all upon demand. Debtor shall remain liable for any deficiency.

12.    ATTORNEYS FEES; COSTS

        In the event Secured Parties retains the services of an attorney to enforce any
provision of the Notes, this Security Agreement, or any other obligation of Debtor to
Secured Parties, Debtor agrees to pay reasonable attorneys fees and other costs,
expenses, and disbursements (including allocated costs for in-house legal services)
incurred by Secured Parties even if no suit, action, arbitration, or other proceeding is
brought. If such a suit, action, arbitration, or other proceeding is brought, Debtor shall also
pay to Secured Parties the reasonable attorneys fees and other costs, expenses, and
disbursements (including the allocated costs for in-house legal services) incurred in
connection with such suit, action, or arbitration or other proceeding in the trial, appellate,
and bankruptcy courts, including without limitation any action to lift or modify the automatic
stay, determine adequate protection, use cash collateral, or relating in any way to any
Disclosure Statement or Plan of Reorganization. Debtor also agrees to pay to Secured
Parties any and all costs and expenses, including reasonable attorneys fees, incurred by
Secured Parties in protecting or enforcing Secured Parties' rights in the Collateral, whether
or not a lawsuit is commenced. Interest shall accrue on all such attorneys fees and other
costs, expenses, and disbursements at a rate equal to that provided in the most recently


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 executed Notes secured hereby plus five percent (5%) per annum and, if there is no such
 Notes, at twelve percent (12%) per annum.

 13.   NOTICE

         Each demand, notice, or other communication required hereunder. or under
applicable law shall be given by certified mail addressed to the party at its address set
forth on the first page hereof or as changed by written notice to the other party, by
facsimile showing receipt by the party, or by personal service upon the party or proper
officer. Reasonable notice, when notice is required, shall be deemed to be five (5) days.
Notice shall be deemed given three days after mailing, or upon actual receipt, whichever is
earlier.

14.    CONSTRUCTION AND GOVERNING LAW

       As used herein, the singular includes the plural, the plural includes the singular, and
masculine, feminine, and neuter mean each other, all as the context so requires or
indicates. All the terms herein and the rights, duties and remedies of the parties shall be
governed by the law of the State of Oregon.

15..   JURY TRIAL WAIVER

         Debtor and Secured Parties each waive the right to a trial by jury in any action or
proceeding relating to any claim, offset, defense, or counterclaim, whether in a contract,
tort, or otherwise, at law or in equity, arising out of or related to this Security Agreement.

16.    ASSIGNMENT

        Secured Parties' rights under this Security Agreement and the obligations secured
hereby and under any of the documents executed in connection therewith may be
assigned by Secured Parties from time to time. In any such case the assignee shall be
entitled to all the rights, privileges, and remedies granted to Secured Parties in this
Security Agreement and in such other documents.

17.    SUCCESSORS AND ASSIGNS

        All covenants and agreements herein contained by or on behalf of the Debtor shall
bind its successors and assigns and shall inure to the benefit of the Secured Parties and
their successors and assigns. Debtor may not assign this Security Agreement or other
instruments or documents executed in connection herewith or any of the rights of Debtor
hereunder without the prior written consent of Secured Parties.




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 18.     SEVERABILITY

         In the event any one or more of the provisions contained in this Security Agreement
 shall for any reason be held to be invalid, illegal, or unenforceable, such provision or
 provisions shall not affect any other provision of the Security Agreement, and in lieu of
 such invalid, illegal, or unenforceable provision there shall be automatically added a
 provision as similar in terms to such invalid, illegal, or unenforceable provision as may be
 possible and as may be valid, legal, and enforceable.

 19.     PARAGRAPH HEADINGS

       Paragraph headings are for reference only and shall not affect the interpretation or
 meaning of any provision in this Security Agreement.

 20.     TIME IS OF THE ESSENCE

        Debtor agrees that time shall be of the essence in performing any act under this
 Security Agreement and under any instrument or document executed in connection
 herewith.

20.      REPRESENTATION

       All parties to this Agreement acknowledge that Sussman Shank LLP represented
only Secured Parties in this Agreement and the transaction referenced herein, and Debtor
acknowledges that it is hereby recommended to obtain independent legal counsel
regarding the transaction.

      IN WITNESS WHEREOF Debtor has caused this Security Agreement to be
executed by a duly authorized person as of the date hereinabove written.

                                                Debtor:

                                                THREE J'S DISTRIBUTING, INC.

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SCHEDULE A
                                       LIENS

                                                                    '
1.     Security Agreement Accounts Receivable Financing to Omnibrands, Inc. u/a/d
9/17 /02.




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                                 EMPLOYMENT AGREEMENT


            EMPLOYMENT AGREEMENT (this "Agreement"), dated as of this 1st day of
 January, 2006, is between       J'S DISTRJBUTING, INC. (the "Company") and
 CHRISTOPHER J. CHURCH (the "Employee").

                                            RECITALS

        A.      The Company is               in the business of distributing bread and other food
 products for resale to retailers and wholesalers and commercial trucking.

        B.       The Company         to employ and. retain the unique experience, abilities, and
 services of the Employee as Chairman of the Board of Directors

      C.      The Employee          to perform the services set forth in this Agreement for the
 Company in accordance with the terms and conditions of    Agreement.

                                          AGREEMENT

        The paities agree as follows:

 SECTION 1. EMPLOYMENT

        1.1      Term. The term of this Agreement is for ten (10) years, commencing on January
1, 2005, and expiring on December 3 L 2015 ("the Tenn"), unless. amended or terminated by
agreement of the parties as set forth Section 9. This             will then continue according to
its terms on a year-to-year basis thereafter unless amended or terminated by               of the
parties as set forth in Section 9.

        1.2     Services. The Employee will perform such acts and do things as may be
necessary to properly an~ efficie1itly carry out the duties set forth in this Agreement. It is
expected that such duties will not entail the devotion of more than an average of ten (10) hours
per month. The Employee will hold the title of Chainnan of the Board of Directors ai1d his
duties will be consistent with this    including but not limited to the following:

        (a)     Assisting in developing corporate strategy and policy;

        (b)     Maintaining relationships with the Board of Directors and the Company's
                shareholders.: and

        (c)     Assisting in the development of strategies          success of the Company.

        1.3     Supervision.                 will repo1i to      Board of Directors.




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        1.4     Evaluation and Improved Performance. The Company may conduct an annual
evaluation of the Employee's performance, which will be completed by the Board of Directors.

        1.5    Outside Activities. It is recognized that the Employee's will devote a limited
amount of time to the Company and that the Employee will devote the vast majority of his time
to personal purposes and other business interests.

SECTION 2. COVENANTS AND RESTRlCTIONS

       The Employee covenants and agrees with the _Company that the Employee will not
engage in any activities that would bring the Company's reputation into disrepute.

SECTION 3. REMUNERATION

     In consideration of all services to be rendered by the Employee to the Company, the
Company will pay to the Employee the base salary of $1,000 per nionth.

SECTION 4. EMPLOYEE BENEFIT PLANS

        The Company will provide health insurance covering Employee and his spouse at no cost
to the Employee. The medical plan provided will be comparable to that provided to the other
officers of the Company.

SECTION 5. NONCOMPETITION

        As partial consideration for _the Company granting a security interest in its assets as
collateral for the sale of Employee's stock pursuant to that Stock Purchase and Sale Agreement
dated January 1, 2006, the Employee agrees that, during his employment by the Company and for
a period of two (2) years after the termination of his employment, the Employee will not sell the
same products that Company sells to any of Company's customers (except when acting as a
broker of Company's products), alone, or as a sole proprietor, an employee, a consultant, owner,
pminer, officer, director, shareholder, member, advisor, or agent, without the consent of
Company. Should      a    default occur pmsuant _to the terms of a Stock Purchase and Sale
Agreement, dated Janum)' 1, 2006 or any of the Transaction Documents, then this
noncompetition provision shall terminate and no longer be effective.

SECTION 6. TERMINATION OF EMPLOYMENT

      6.1      Termination for Cause. Notwithstanding any provision contained in this
Agreement to the contrary, the Company may immediately terminate this Agreement for cause.
"Cause" is defined as the following conditions:

       (a)    The Employee engages in any business activity·or investment that is in violation
              of Section 5 of this Employment Agreement that conflicts or competes with the




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                           business of the Company which is not resolved to the Company's satisfaction
                           within a reasonable period after written notification, or

         (b)               The Employee acts in a grossly negligent, reckless, wantons or criminal manner
                           that actively, directly, ·or indirectly affects the interests or reputation of the
                           Company; or

         (c)               The Employee fails to meet minimum performance standards established by the
                           Company; or

         (d)               The Employee is cs:mvicted of a felony, based on an act of moral turpitude.

SECTION 7. INDEMNITY

         Company agrees to defend, indemnify and hold Employee haimless from all claims,
liabilities, losses and damages, including attorneys' fees, asserted against Employee ai·ising from,
or relating to, this Agreement and/or Employee's perfo1mance of his obligations hereunder
except where the same ai·e caused solely by Employee's grossly reckless conduct or intentional
misconduct.

SECTION 8. ATTORNEYS' FEES

        Should legal action be necessary to enforce or interpret this Agreement, the prevailing
party shall be entitled to recover from the other party its reasonable costs and attorneys' fees
incurred, including any costs and reasonable attorneys' fees incurred in any banhuptcy
proceeding and in ariy appeal.

        The parties enter into this Agreement as of the elate first written above.

                                                                THREE J'S DISTRJBUTING, INC.



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                                                                ii
                                                               President


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                        Case 18-03123-pcm                   Doc 1        Filed 12/10/18
                                  EMPLOYMENT AGREEMENT


        This EMPLOYMENT AGREEMENT (this "Agreement"), dated ,as of this 1st day of
 January, 2006, is between THREE J'S DISTRJBUTING, INC. (the "Company") and SHERYL J.
 CHURCH (the "Employee").

                                           RECITALS

        A.      The Company is engaged in the business of distributing bread and other food
 products for resale to retailers and wholesalers and commercial trucking.

         B.      The Company desires to employ and retain the unique experience, abilities, and
 services of the Employee as accountant.

      C.          Employee agrees to perform the services set forth in         Agreement for the
 Company in accordance with the terms and conditions of this Agreement.

                                          AGREEMENT

              parties agree as follows:

 SECTION 1. EMPLOYMENT

        1.1      Term. The term of this Agreement is for five (5) years, commencing on January
1, 2006, and expiring on December 31, 2011 ("the Term"), unless amended or terminated by
agreement of the parties as set forth in Section 9. This Agreement will then continue according to
its terms on a year-to-year basis tl1ereafter unless amended or terminated by agreement of fue
parties as set forth in Section 9.

       1.2     Services. The Employee will perform such acts and do things as may be
necessary to properly and efficiently carry out the duties set forth in this Agreement. It is
expected that such duties will not entail the devotion of more than an average of ten (10) hours
per month, 1mless she agrees. The Employee will provide accounting services for the Company
and her duties will be consistent witl1 this title.

        1.3     Supervision. The Employee will report to      President.

        1.4   Evaluation and Improved Performance. The Company may conduct an annual
evaluation of the Employee's performance, which will be completed by the officers of the
Company.

        1.5    Outside Activities. It is recognized that the· Employee will devote a limited
amount of time to the Company and that the Employee will devote the vast majority of her time
to personal purposes and other business interests.


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                        Case 18-03123-pcm       Doc 1      Filed 12/10/18
SECTION 2. COVENANTS AND RESTRICTIONS

       The Employee covenants and agrees with the Company that the Employee will not
engage in any activities that would bring the Company's reputation into disrepute.

SECTION 3. REMUNERATION

      In consideration of all services to be rendered by the Employee to the Company, the
Company will pay to the Employee the compensation of $40 per hour from the date that this
Agreement is effective through the termination of this Agreement and any extensions of it.

SE_CTION 4. EMPLOYEE BENEFIT PLANS

       The Company will provide health insurance covering Employee and her spouse during
the time of her employment at no cost to the Employee. The medical plan provided will be
comparable to that provided to the officers of the Company.

SECTION 5. NONCOMPETITION

        As partial consideration for the Company granting a security interest in its assets as
collateral for the sale of Employee's stock pursuant to that Stock Purchase and Sale Agreement
dated January 1, 2006, the Employee agrees that, during her employment by the Company and for
a period of two (2) years after the termination of her employment, the Employee will not sell the
same products that Company sells to any of Company's customers (except when acting as a
broker of Company's products), alone, or as a sole proprietor, an employee, a consultant, owner,
partner, officer, director, shareholder, member, advisor, or agent, without the consent of
Company. Should a default occur pursuant to the terms of a Stock Purchase and Sale
Agreement, dated January 1, 2006 or any of the Transaction Documents, then this
noncompetition provision shall terminate and no longer be effective.

SECTION 6. TERMINATION OF EMPLOYMENT

      6.1      Termination for Cause. Notwithstanding any prov1s10n contained in this
Agreement to the contrary, the Company may i1m11ediately terminate this Agreement for cause.
"Cause" is defined as the following conditions:

       (a)     The Employee engages in any business activity or investment that is in violation
                of Section 5 of this Employment Agreement that conflicts or competes with the
                business of the Company which is not resolved to the Company's satisfaction
                within a reasonable period after written notification, or

       (b)    The Employee acts in a grossly negligent, reckless, wanton, or criminal maimer
              that actively, directly, or indirectly affects the interests or reputation of the
              Company; or


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                        Case 18-03123-pcm       Doc 1    Filed 12/10/18
          (c)     The Employee 1s convicted of a felony, based on an act constituting moral
                  turpitude.

 SECTION 7. INDEMNITY

           Company agrees to defend, indemnify and hold Employee hmmless from all claims,
  liabilities, losses and damages, including attorneys' fees, asserted against Employee arising from,
  or relating to, this Agreement and/or Employee's performance of her obligations hereunder
. except where the same are caused solely by Employee's grossly reckless conduct or intentional
  misconduct.

 SECTION 8. ATTORNEYS' F.EES

        Should legal action be necessary to enforce or interpret this Agreement, the prevailing
 pmiy shall be entitled to recover from the other party its reasonable costs and attorneys' fees
 incuned, including any costs and reasonable attorneys' fees incurred in any bankruptcy
 proceeding and in any appeal.

         The parties enter into this Agreement as of the date first written above.

                                                              THREE J'S DISTRIBUTING, INC.



                                                               ',.       '
                                                              J din R. Jones
                                                              President


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                                                  STATE OF OREGON
                                               Corporation Division - UCC
                                                 Public Service Building
                                            255 Capitol Street NE, Suite 151
                                                Salem, OR 9731 O - 1327
                                        (503) 986-2200 Facsimile (503) 373-1166

                                       ACKNOWLEDGMENT NOTICE
                                                                                                 File No: 7150193
                                                                                               File Date: 01/11/2006

       SUSSMAN SHANK LLP                                                                 Expiration Date: 01/11/2011
       1000 SW BROADWAY SUITE 1400                                                           Entered By: CARMER
       PORTLAND, OR 97205
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Your document was filed showing the file number and date listed above. The debtor name(s) and address(es) and secured
party of record narne(s) and adclress(es) are listed below.

If you have any questions regarding this notice, contact the Secretary of State, Corporation Division. Please refer to the file
number listed above.

Note: You can access our records or filing forms through the Internet at the address:
                       http://filinginoregon.com



Secured party of record name(s) and address(es)

CHRISTOPHER J. CHURCH
5433 SE SCENIC LANE #200
VANCOUVER, WA 98661



SHERYL J. CHURCH
5433 SE SCENIC LANE #200
VANCOUVER, WA 98661



Debtor name(s) and address(es)

THREE J'S DISTRIBUTING, INC.
16123 SE 98TH BLDG B
CLP-.C~<A~v1P.,S OR 97015
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                                  Case 18-03123-pcm               Doc 1       Filed 12/10/18
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           Sussman Shank LLP
           1000 SW Broadway, Suite 1400
           Portland, OR 97205

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 security, and all other evidence of indebtedness owed to Debtor from whatever source_ arising;
 2. General intangibles, ir}cluding, without limitation, any and all choses in action, good will, patents,
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                                                                      Case 18-03123-pcm                            Doc 1            Filed 12/10/18
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         c:.ol1Bl9f'QI, or ia 1ll&t;i ,;~ u   D flJI.\Vn: Til\ng,                                                                           4. Inventory (jncloding goods cons:igned to Dcbwr), raw materials,
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                                     Record Type                 Name and Address
                                     Secured Party               CHURCH, CHRISTOPHER J,
                                                                 5433 SE SCENIC LANE #200, VANCOUVER, WA 98661

                                     Secured Party               CHURCH, SHERYL J.
                                                                 5433 SE SCENIC LANE #200, VANCOUVER, WA 98661

                                     Debtor                      THREE J'S DISTRIBUTING, INC.
                                                                 16123 SE 98TH BLDG B, CLACKAMAS, OR 97015

                      7150193-1                        01/07/2011                     Continuation                       01/11/2016                   l
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1 of 1
             Exhibit I - Page 1 of 1                                                                                                                                   3/1/2011 3:52 PM
                                                   Case 18-03123-pcm                             Doc 1          Filed 12/10/18
                          VOTING AND SHAREHOLDERS AGREEMENT

                VOTING AGREEMENT (this "Agreement"), dated as of this 1st day of January,
 2006, is between THREE J'S DISTRIBUTING, INC., an Oregon corporation (the.
 "Company"), CHRISTOPHER J. CHURCH and SHERYL J. CHURCH ("Shareholder No.
 l"), CONSTANTIN F. IONESCU ("Shareholder No. 2"), JAMES R. CARTY ("Shareholder
 No. 3 11 ) and JON R. JONES ("Shareholder No. 4"). Shru:eholder No. 1, Shareholder No. 2,
 Shareholder No. 3 and Shareholder No. 4, and all other Shareholders who are a party to this
 Agreement are collectively refen:ed to as "Shmeholders".

                                           RECITALS

         A.     Shar~holder No. 1, after a redemption of a portion of their shares of Company, js
 selling substantially all of the remaining Shares of Company to Shareholders Nos. 2, 3 and 4
 pursuant to that Stock Pmchase and Sale Agreement of the same date as this Agreement;

         B.     The Shareholders desire to enter into this Agreement to provide for the manner in
 which they will vote their shares in connectimi with the election of directors of the Company
 until the purchase price  the Shares is paid; and

         B.          Company desires to enter into this Agreement to facilitate its implementation.

                                         AGREEMENT

         The paiiies agree as follows:

 SECTION 1. DEFINITIONS

         In this Agreement, the following terms have the following meanings:

         1.1    Board. "Board" means the Company's Board of Directors.

         1.2     Person. "Person" means an individual, corporation, limited liability company
 paiinership, trust, joint venture, or other form of business entity.

       1.3    Shareholders. "Shai·eholders" means Shareholder No. 1, Shareholder No. 2,
Shareholder No. 3, Shareholder No. 4, and each future holder of voting shares issued by the
Company, who, from time to time, on or after the date of this Agteement, executes and delivers
to the Company's Secretary a counterpart of      Agreement. "Shareholder" means one of the
Shareholders.

        1.4    Shares. "Shares" means all the shai·es of the Company that are entitled to vote for
directors and that are owned or held of record by a Shareholder, including any additional shares
that may be acquired after the date of this Agreement. ·



PAGE l    VOTING AGREEMENT
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 SECTION 2. ELECTION AND REMOVAL OF DIRECTORS

        2.1    Voting for Directors. In every election of members of the Board, each
 Shareholder must vote all of the Shareholder's Shares, and any other shares as to which the
 Shareholder has voting power at the time of the vote, for the following candidates:

         (a)    Four individuals designated by Shareholder No. 1.

         (b)    One individual designated by Shareholder No. 2.

         (c)    One individual designated by Shareholder No. 3.

         (d)    One individual designated by Shareholder No. 4.

        2.2      Designation _of Candidates. The Persons entitled to designate candidates for the
 Board must notify the current Board of their respective nominees within 10 days of notice to the
 Company's shareholders of any shareholders' meeting at which directors are to be elected. If any
 Person fails to timely deliver a designation, the parties to this Agreement may presume that the
 incumbent director, if any, designated by the Person, continues to be the designee of such
 Persons.

        At any time, a Shareholder entitled to designate a candidate for the Board may notify th~
parties to this Agreement of the Shareholder's intention to remove or replace the designee of
such Shareholder or to fill a vacancy caused by the resignation of such designee. In that event,
the parties will cooperate in calling a meeting of either the Board or the shareholders, as
appropriate, and the Shareholders will vote for the removal of the existing designee and the
election of the new designee in accordance with this Agreement.

SECTION 3. AMENDMENT OF ARTICLES

       3.1     Amendment of Articles. Unless otherwise agreed by all of the Shareholders,
each Shareholder agrees to vote against any amendment of the Company's articles of
incorporation that would allow for cumulative voting in the election of Board members while this
Agreement remains in effect.

       3.2    Number of Directors. Unless otherwise agreed by all of the Shareholders, each
Shareholder agrees to vote against any amendment to the Company's articles of incorporation or
bylaws that would increase or decrease the number of directors of the Company.

SECTION 4. IRREVOCABLE AUTHORIZATION OF PROXIES

        Each Shareholder hereby irrevocably authorizes Shareholder No. 1 to act as proxy to vote
or to give written consent with respect to all of the Shareholder's Shares according to Sections 2
and 3. Each of these respective authorizations is irrevocable and coupled with an interest, in that
the Persons authorized to act as proxies are parties to a voting agreement.


PAGE 2-VOTING AGREEMENT
Exhibit J - Page 2 of 7
                          Case 18-03123-pcm      Doc 1    Filed 12/10/18
 If the other terms and conditions of this Voting Agreement are det~rmined to be void, voidable,
 or enforceable for aii.y reason, the proxy given Shareholder No. 1 by the other Shareholders shall
 remain valid and enforceable.

 SECTION 5. LEGEND

         Each Shareholder instructs the Compai1y to endorse the following legend on all
 certificates representing Shares that are issued to such Shareholder during the tenn of this
 Agreement:

        THE SHARES REPRESENTED BY THIS           CERTIFICATE ARE SUBJECT TO TERMS,
        CONDITIONS, AND RESTRICTIONS CONTAINED IN A YOTING AGREEMENT AMONG
        CERTAIN SHAREHOLDERS OF THE CORPORATION, A COPY OF WHICH IS ON FILE AT THE
        OFFICE OF THE CORPORATION.


 SECTION 6. SPECIFIC PERFORMANCE

        This Agreement applies to all annual or special meetings of shareholders, or any
 adjourm11ents thereof, ai1d in all written consents of shareholders. This Agreement is created
 under ORS 60.257. The Shareholders intend ai1d agree that this Agreement is specifically
 enforceable in any court having jurisdiction.

SECTION 7. OTHER VOTING AGREEMENTS

        The Shareholders represent and agree that they are not and will not become parties to any
voting trust, agreement for voting control, or other like agreement involving any Shares during
the term of this Agreement.

SECTION 8. TRANSFER OF VOTING SECURITIES

        The Company may not issue any shares entitled to vote in the election of directors, or ai1y
securities convertible into, exchangeable for, or exercisable for, shares entitled to vote in the
election of directors, nor may the Company permit the transfer on its books of any of such
securities, nor may any Shareholder sell, transfer, assign, or otherwise convey any of such
securities, without the consent of Shareholder No. 1, which consent will not be unreasonably
withheld, ai1d unless the Person receiving such securities becomes a party to this Agreement as a
Shareholder. This Agreement is binding on and will inure to the benefit of the parties and their
respective heirs, personal representatives, successors, and assigns.

SECTION 9. T~X DISTRJBUTIONS

        All parties to this Agreement recognize that the Company is a subchapter "S" corporation
for tax purposes. As long as such a distribution is legal, the Company and each Shai·eholder and
director who is appointed by a Shareholder agrees to tak~ all reasonable actions to distribute



PAGE 3 - VOTING AGREEMENT
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 funds to each Shareholder sufficient to pay state, federal and local income tax obligations of the
 Shareholder, accruing from flow-through income of the Company to the .Shareholder because of
 the Shareholder's ownership of Company stock.

 SECTION 10.  RIGHT OF COMPANY (OR SHAREHOLDERS) TO PURCHASE
 STOCK OF SHAREHOLDER

         If any of Shareholder No. 2, No. 3 or No. 4 ("Bound Shareholder(s)") (a) is no longer an
 employee of the Company (whether by voluntary termination, involuntary termination, death or
 disability), (b) is found to be insolvent or bankrupt by a court, (c) makes a general assignment of
 assets for benefit of creditors, (d) has all or a portion of the Shareholder's Shares transfened to a
third party by any court (including to a spouse or ex-spouse), (all of the circumstances specified
in (a), {b ), (c) and (d) constitute a "Triggering Event") then the Company (or the other Bound
Shareholders [pro-rata, based upon their percentage ownership of outstanding Stock] should the
Company consent) shall have an option for a period of tlu·ee (3) years following the date of a
Shareholder's employment termination or other Triggering Event to purchase that Shareholder's
stock of company at a price as of the date of the notice of exercise equal to a price (a) agreed
upon between the selling Shareholder and the Company or the purchasing Bound Shareholders or
(b) if the parties cannot agree on a price within thirty (30) days of notice to purchase by the
purchasing entity, then the Company's CPA shall select an appraiser who will value the
Company, and the purchase price shall be the appraised value of the company multiplied by the
percentage of outstanding stock of company being purchased. The purchase price shall not be
less than the outstanding balance of the Promissory Note dated January 1, 2006 ("2006 Note")
payable by the selling Shareholder to Shareholder No. 1. The terms of payment to the selling
Shareholder shall be a five percent (5%) down payment with the balance to be paid over ten (10)
years, with interest accruing at the ten year treasmy rate, adjusting annually on the aimiversary of
the sale. All payments to the selling Shareholder shall be paid directly to Shareholder No. 1 and
applied to the obligation under the 2006 Note, until such 2006 Note is paid in full. Thereafter
payments will be made to the selling Shareholder.

SECTION 11. TERM

         This Agreement terminates upon the payment in full by Shareholders No. 2, No. 3, and
No. 4 of their obligations to Shareholder No. 1 to purchase the Shares of the Company and to
satisfy their obligations under the Promissory Notes and other documents given by Shareholders
No. 2, No. 3, and No. 4 to Shareholder No. 1 in conjunction with the sale of Shares by
Shareholder No. 1 to Shareholders No. 2, Shareholder No. 3 and Shareholder No. 4.

SECTION 12. AMENDMENT

        This Voting Agreement may by amended or modified by the vote of Shareholders holding
at least 60% of the outstanding voting securities of the Company; provided further, no such
amendment or modification shall be effective unless Shareholder No. 1 has voted in favor of
such amendment or modification.




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 SECTION 13. NOTICES

         All demands and notices given hereunder shall be sent by registered mail addressed to the
 respective parties at the addresses set forth below, or to such other address as each may hereafter
 designate by registered mail.

        If to Churches:                       Christopher and Sheryl Church
                                              5433 SE Scenic Lane, #200
                                              Vancouver, WA 98661

        With a copy to:                       Dai·in D. Honn
                                              Sussman Shartle LLP
                                              1000 SW Broadway, Suite 1400
                                              Pmiland, OR 97205

        If to Ionescu:                        Constai1tin F. Ionescu
                                              5830 SW l 77u1 Avenue
                                              Aloha, OR . 97007

        If to Caiiy:                          James R. Cmtv
                                              6259 SE 32 11 d Terrace
                                              Gresham, OR 97080

        If to Jones:                          Jon R. Jones
                                              13331 S. James Comi
                                              Oregon City, OR 97045

SECTION 14. ARBITRATION

         Any dispute or controversy arising out of or in connection with this Agreement, or the
breach thereof, shall be determined and settled by arbitration in Portland, Oregon, in accordance
with the rules of the U.S. Arbitration and Mediation Service or the Arbitration Service of
Portland, with the person commencing arbitration choosing the arbitration service. Any award
rendered therein shall be final and binding on the parties and judgment may be entered thereon in
any court of competent jurisdiction. This provision shall not prevent a party from seeking in a
comi of competent jurisdiction an order or judgment for provisional, equitable or injunctive
relief, or appearing or filing in a lawsuit where a third party not subject to this Arbitration is a
pmty or is a necessary party.

SECTION 15. ATTORNEYS' FEES

       The prevailing party in any arbitration, trial, bankruptcy proceeding, insolvency
proceeding or appeal from any of the proceedings shall be entitled to be awarded its costs ai1d
reasonable attorney fees.




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 SECTION 16. BINDING EFFECT

        This Agreement shall be binding upon and inure to the benefit of the respective parties
hereto, their legal representatives, successors and assigns,

SECTION 17. ENTIRE AGREEMENT

        This Agreement supersedes all agreements previously made between the pa1iies hereto,
their legal representatives, successors and assigns, but shall be read in conjunction with the Stock
Purchase and Sale Agreement dated January 1, 2006, between the parties.

SECTION 18. NON-WAIYER

       No delay or failure by any party to exercise any right under this Agreement, and no partial
or single exercise of that right, shall constitute a waiver of that or any other right, unless
otherwise expressly provided herein.

SECTION 19. HEADINGS

       Headings in this Agreement are for convenience only and shall not be used to interpret or
construe its provisions.

SECTION 20. GOVERNING LAW

        This Agreement shall be construed in accordance with and governed by the laws of the
State of Oregon.

SECTION 21. ADVICE OF COUNSEL

        Churches, Company and Shareholders No. 2, No. 3 and No. 4 by their signatures hereby:

       a.     Acknowledge that Darin D. Honn and Sussman Shank LLP have provided legal
       advice to only Churches in connection with this transaction and preparation of this
       Agreement.

       b.      Acknowledge that each has been advised to seek separate legal counsel.

       c.      Aclmowledge that Darin D. Honn and Sussman Sha11J.c LLP have provided legal
       services to Three J's Distributing, Inc. and Constantine F. Ionescu on umelated matters
       and may continue to do so in the future.

       d.      Consent to Darin D. Hom1 and Sussman Shank LLP representing only Churches in
       this transaction and preparation of this Agreement and waive any conflict of interest, if
       any, which may potentially exist.




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Exhibit J - Page 6 of 7
                          Case 18-03123-pcm      Doc 1     Filed 12/10/18
SECTION 22. CONSTRUCTION

         The terms of this Agreement and the Transaction Documents were negotiated betw~en
the paJ.iies, and should a11y ambiguity occur, it shall not be construed against any party as the
drafter.

SECTION 23. PAYlVIENT OF FEES AND COSTS

        All parties hereto agree that Company shall reimburse Churches for all attorney fees or
costs incurred in this transaction.

SECTION 24. EFFECTIVE DATE

        The effective date of the sale of this Agreement shall be the 1st day of January, 2006.

                                                        THREE J'S DISTRIBUTING COMPANY, INC.

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                                                        J&n R. Jones /




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                                                                                        ,-~···---        -----
                                                                                                                 FILED: JAN 30, 2018 05:00 PM
                                                                                                                OREGON SECRETARY OF STATE




                                                                                                   ucc
                                                                                                                11111111 ~ 11111111
                                                                                                                       LIEN NO. 91447371                  THREE J'S DISTRIBUTI
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
 A. NAME & PHONE OF CONTACT AT FILER (optional)
      Corporation Service Company                             1-800-858-5294
 B. E-MAIL CONTACT AT FILER (optional)
      SPRFiling@cscinfo.com
C. SEND ACKNOWLEDGMENT TO: (Name and AJtdJ:!tssL_


                  Corporation Service Company                                                        i
                  1127 Broadway St NE
                  Suite 310
                  Salem, OR 97301                                                    Flied In: Oregon
                                                                                              (S.O.~

-
1. DEBTOR'S NAME:
                                                                                                                          THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
                                 Provide only Qllll. Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the lnd1v1dual Debtors
     name will not fit in line 1b, leave all of item 1 blank, check here  O    and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

      1a. 0RGAN1ZAT10N·s NAME Three              J's Distributing, Inc.
OR
      1b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)nNITIAL(S)                SUFFIX



1c. MAILING ADDRESS         16251 SE 98th Ave                                               CITY
                                                                                            Clackamas
                                                                                                                                                  STATE
                                                                                                                                                  OR
                                                                                                                                                            IPOSTAL CODE
                                                                                                                                                              97015
                                                                                                                                                                                              COUNTRY
                                                                                                                                                                                                USA
2.   DEBTOR'S NAME:              Provide only Qllll. Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtors
     name will not fit in line 2b, leave all of item 2 blank, check here  O    and provide the Individual Debtor Information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

      2a. ORGANIZATION'S NAME


OR
      2b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX


2c. MAILING ADDRESS                                                                         CITY                                                  STATE     IPOSTALCODE                       COUNTRY



3    SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY)·                                Provide only~ Secured Party name (3a or 3b)
      3a. ORGANIZATION'S NAME


OR
      3b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX
      Church                                                                                 Christopher                                          J
3c. MAILING ADDRESS 5433             SE Scenic Lane, #200                                   CITY                                                  STATE     rOSTAL CODE                       COUNTRY
                                                                                            Vancouver                                             WA          98661                            USA
4. COLl.8.T!;~A~: This financjng statement covers the following collateral:
    See 1::xnu:,1t A attacnea.




5. Check   m    if applicable and Check .Q!lly_ one box: Collateral Is   O held in a Trus1 (see UCC1Ad, Item 17 and Instructions) D being administered by a Decedent's Personal Representative
6a. Check l!IIIY. If applicable and check l!IIIY. one box:                                                                                6b. Check l!IIIY. if applicable and check l!IIIY. one box:

     0    Public-Finance Transaction O Manufactured-Home Transaction O A Debtor is a Transmitting Utility   D Agricultural Lien                                                 Non-UCC FIiing

7. ALTERNATIVE DESIGNATION (if applicable): 0 Lessee/Lessor        O Consignee/Consignor     D Seller/8uyer   D Bailee/Bailor                                                   D Licensee/Licensor
s. OPTIONAL FILER REFERENCE DATA: :17212-003 - DOH - Prepared by TLW
                                                                                                                                                                                           1418 72977
                                                                                                                                                                                 Corporal!on Service Company
FILING OFFICE COPY- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)                                                                                                          2711 Centerville Rd, Sta. 400


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                                                                                                                                                                                 Wilming1on, DE 19808


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UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS

9. NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left blank
   because Individual Debtor name did not fit, check here    D
       9a. ORGANIZATION'S NAME

      Three J's Distributing, Inc.


OR
       9b. INDIVIDUAL'S SURNAME



           FIRST PERSONAL NAME



           ADDITIONAL NAME(S)/INITIAL(S)                                                              I SUFFIX

                                                                                                                           THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
10. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact, full name;
       do not omit, modify, or abbreviate any part of the Debtor's name) and enter the mailing address in line 10c

       10a. ORGANIZATION'S NAME


OR
       10b. INDIVIDUAL'S SURNAME



            INDIVIDUAL'S FIRST PERSONAL NAME


            INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                            SUFFIX


10c. MAI LI NG ADDRESS                                                                                                                  ISTATE    IPOSTALCODE                     COUNTRY
                                                                                         ICITY


11.   [t'.I ADDITIONAL SECURED PARTY'S NAME -or                        O ASSIGNOR SECURED PARTY'S NAME:                        Provide only Qllltname (11a or 11b)
       11a. ORGANIZATION'S NAME


OR
       11 b. INDIVIDUAL'S SURNAME                                                         FIRST PERSONAL NAME                            ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX
       Church                                                                             Sheryl                                         J
11c. MAILING ADDREss5433              SE Scenic Lane, #200                               CITY                                           STATE     I POSTAL CODE                   COUNTRY
                                                                                         Vancouver                                       WA        98661                           USA
12. ADDITIONAL SPACE FOR ITEM 4 (Collateral):




13.   D This FINANCING STATEMENT is to be filed [for record] (or recorded) in the        14. This FINANCING      STATEMENT:
           REAL ESTATE RECORDS (if applicable)                                               D covers timber to be cut D covers as-extracted collateral D is filed as a fixture filing
15. Name and address of a RECORD OWNER of real estate described in item 16               16. Description of real estate:
      (if Debtor does not have a record interest):




17. MISCELLANEOUS:


                                                                                                                                                                     Corporation Sarvice Company
FILING OFFICE COPY- UCC FINANCING STATEMENT ADDENDUM (Form UCC1Ad) (Rev. 04/20/11)                                                                                   2711 Centerville Rd, Ste.400

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                                                                                                                                                                     Wilmington, DE 19808


                                  Case 18-03123-pcm                                                 Doc 1            Filed 12/10/18
                                           EXHIBIT A
                                               TO
                                 UCC FINANCING STATEMENT
                               Debtor: Three J's Distributing, Inc.
                   Secured Parties: Christopher J. Church and Sheryl J. Church

         1.1   Accounts, Notes, contracts, contract rights, chattel paper, electronic
 chattel paper, cash, checks, drafts, documents, instruments, money, letter of credit
 rights, promissory Notes, deposit and commodity accounts, including without limitation
 the following: investment property, commercial tort claims, payment intangibles, all
 rights of Debtor to receive payment in money or kind, all related supporting obligations
 and security, and all other evidence of indebtedness owed to Debtor from whatever
 source arising;

        1.2   General intangibles, including, without limitation, any and all choses in
 action, goodwill, patents, trademarks, accounts, tax refunds, rights under contracts of
 insurance, and customer. lists;

          1.3      Equipment, goods, software, furniture, vehicles, and trade fixtures;

       1.4    Inventory (including goods consigned to Debtor), raw materials, farm
 products, and work in process;

         1.5   All records and documents relating to any and all of the foregoing
 including, without limitation, records of accounts and customers whether in the form of
 writing, microfilm, microfiche, tape, or electronic media;

        1.6     All products, Proceeds, increases, accessions, renewals, replacements, and
 substitutions of and to any and all of the foregoing.

            "Proceeds" shall include proceeds of insurance policies on the Collateral,
 including, without limitation, business interruption insurance. Where the Debtor and the
 owner of the Collateral are not the same, "Debtor'' herein shall mean the owner of the
 Collateral, or shall mean both the owner and Debtor as the context requires to give the
 Secured Parties the broadest rights and remedies.




 *17212--003\EXHIBIT A TO UCC -THREE J"S DISTRIBUTING/ CHURCH, CHRISTOPHER AND SHERYL (02730452);1




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